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  8                          UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                             CASE NO. 07cr657WQH
 12                                 Plaintiff,               ORDER EXCLUDING TIME
              vs.
 13    JOSE MENDOZA-BALCAZAR (1),
       ALFREDO BELTRAN-ROMERO (3),
 14    EMMANUEL MADERO-HERNANDEZ (4),
       GILBERTO ACUNA(5), LUIS CARBALLO
 15    (7), JOSUE COTA-SANCHEZ (8).
 16                                    Defendants.
 17
 18   Hayes, Judge:
 19          The matter before the Court is the motion to declare case complex (#48-2) filed by
 20   Defendant Alfredo Beltran-Romero filed on June 11, 2007 and joined in by all Defendants.
 21          Defendants move the Court pursuant to 18 U.S.C. § 3161(h)(8) for an extension of the
 22   seventy day statutory maximum trial date on the grounds that additional time is needed to
 23   review voluminous discovery “likely to be in the hundreds of thousands of pages.” (Doc #. 48-
 24   2 at 6.) Defendants assert that additional time is required to conduct extensive investigation
 25   necessary in order to attack on the validity of various wiretaps, executed search warrants, and
 26   consensual searches. Defendants request that the Court make a finding of complexity and
 27   exclude the period of time necessary to allow the defense counsel and the Defendants an
 28   opportunity to review and organize the voluminous discovery and to conduct the required


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  1   extensive investigation.
  2                                       APPLICABLE LAW
  3          18 U.S.C. Section 3161(c)(1) of the Speedy Trial Act requires that “[i]n any case in
  4   which a plea of not guilty is entered, the trial of a defendant charged in an information or
  5   indictment with the commission of an offense shall commence within seventy days from the
  6   filing date (and making public) of the information or indictment, or from the date defendant
  7   has appeared before a judicial officer of the court in which such charge is pending, whichever
  8   date last occurs.” Section 3161(h)(8)(A) provides that the Court may exclude any period of
  9   delay resulting from a continuance at the request of either party “if the judge granted the
 10   continuance on the basis of his findings that the ends of justice served by taking such action
 11   outweigh the best interest of the public and the defendant in a speedy trial.” Factors which
 12   a judge shall consider in determining whether to grant a continuance under subparagraph (A)
 13   include “[w]hether the case is so unusual or so complex, due to the number of defendants, the
 14   nature of the prosecution, or the existence of novel questions of fact or law, that it is
 15   unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself
 16   within the time limits established....” Section 3161(h)(8)(B)(ii). “[N]o continuance period
 17   may be excluded unless the court makes reasonably explicit findings that demonstrate that the
 18   ends of justice served by granting the continuance do, in fact, outweigh the best interests of the
 19   public and the defendant in a speedy trial.” United States v. Perez-Reveles, 715 F.2d 1348,
 20   1352 (9th Cir. 1983). The findings of the Court must be set forth with particularity. Id.
 21                                             ANALYSIS
 22          On July 2, 2007, this Court held a hearing regarding the motion to declare this case
 23   complex. All defendants agreed that the case should be declared complex because of the
 24   amount of time required by defense counsel to obtain, review and evaluate the voluminous
 25   discovery; and the amount of time required to prepare the motions necessary to challenge the
 26   government’s evidence.
 27          Discovery is proceeding expeditiously. The Court grants the motion to declare case
 28   complex based upon the complexity of the discovery and the investigation required to


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  1   adequately review and evaluate the evidence. It is not reasonable to expect adequate
  2   preparation for pretrial proceedings or for the trial itself within the time limits established by
  3   the Speedy Trial Act. The facts presented demonstrate that the ends of justice are served by
  4   granting a reasonable period of excludable delay to allow the extensive discovery to be
  5   obtained and evaluated by defense counsel outweighs the best interests of the public and the
  6   defendant in a speedy trial. It is not in the best interest of the public or the defendants to
  7   require that the defendants proceed to trial without adequate time for defense counsel to
  8   evaluate the government’s evidence and to attempt to evaluate the evidence.
  9                                          CONCLUSION
 10          IT IS HEREBY ORDERED that the Motion to Declare the Case Complex (#48-2) is
 11   granted and a period of excludable delay from June 11, 2007 to August 17, 2007 is allowed
 12   pursuant to Section 3161(h)(8)(A). A further hearing is scheduled in this matter for Friday,
 13   August 17, 2007 at 1p.m.
 14   DATED: July 5, 2007
 15
                                                        WILLIAM Q. HAYES
 16                                                    United States District Judge
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